                                                        FB CONVERSATIONS
U.S.v. Elshinawy                                      WITHDocument
                                  Case 1:16-cr-00009-ELH   TAMER ELKHODARY
                                                                    138-2 Filed 11/14/17 Page 1 of 6
Criminal No. ELH-16-0009                                 Defense Exhibit 2                                                               1




             Sent 2014-10-10 16:43:51 UTC
             Deleted
             Body ‫ﻣﺎﺷﻰ‬                                       Ok
             Author ( 100001303475553 ) ‫ﻣﺣﻣد اﻟﺷﻧﺎوى‬         Mohamed Elshinawy
             Sent 2014-10-10 16:43:59 UTC
             Deleted
             Body ‫اﻧﺎ ﻋﺎرف ﯾﻣﻛن اﻧت ﺑﺗﻛﺗب‬                    I know that you might be typing
             Author ( 100004675178304 ) ‫ﺗﺎﻣر اﻟﺧﺿرى‬          Tamer Elkhodary
             Sent 2014-10-10 16:45:43 UTC
             Deleted
                                                             Ask for Allah's advice and come. There are some great guys in here from
             Body ‫اﺳﺗﺧﯾر ﷲ وﺗﻌﺎﻟﻰ ھﻧﺎ ﺷﺑﺎب ﻣن ﻋﻧدك زى اﻟﻔل‬   where you are.
             Author ( 100001303475553 ) ‫ﻣﺣﻣد اﻟﺷﻧﺎوى‬         Mohamed Elshinawy
             Sent 2014-10-10 16:45:56 UTC
             Deleted
             Body ‫ﻻ اﻧﺎ ﻋﺎﯾزك ﺗﻘوﻟﻰ اﻟواﻗﻊ اﯾﮫ‬               No, I want you to tell me about the real situation.
             Author ( 100004675178304 ) ‫ﺗﺎﻣر اﻟﺧﺿرى‬          Tamer Elkhodary
             Sent 2014-10-10 16:45:57 UTC
             Deleted
             Body ‫ﺗﺣب اﺧﻠﯾﮭم ﯾﻛﻠﻣوك‬                          Would you like me to have them call you[?]
             Author ( 100001303475553 ) ‫ﻣﺣﻣد اﻟﺷﻧﺎوى‬         Mohamed Elshinawy
             Sent 2014-10-10 16:46:05 UTC
             Deleted
             Body ‫ﻻﻻااااااااااااااااااااااااااا‬              No nooooooooooooooooooooooo
             Author ( 100001303475553 ) ‫ﻣﺣﻣد اﻟﺷﻧﺎوى‬         Mohamed Elshinawy
             Sent 2014-10-10 16:46:08 UTC
             Deleted
             Body ‫اﺳﻣﻊ ﺑس‬                                    Just listen
             Author ( 100004675178304 ) ‫ﺗﺎﻣر اﻟﺧﺿرى‬          Tamer Elkhodary
             Sent 2014-10-10 16:46:11 UTC
             Deleted
             Body ‫ﺗﺳﺗﻔﺳر ﻣﻧﮭم‬                                You can ask them
             Author ( 100001303475553 ) ‫ﻣﺣﻣد اﻟﺷﻧﺎوى‬         Mohamed Elshinawy




                                                                                                                             TAMER_275
                                                        FB CONVERSATIONS
U.S.v. Elshinawy                                      WITHDocument
                                  Case 1:16-cr-00009-ELH   TAMER ELKHODARY
                                                                    138-2 Filed 11/14/17 Page 2 of 6
Criminal No. ELH-16-0009                                 Defense Exhibit 2                                                                   2




             Sent 2014-10-10 17:02:55 UTC
             Deleted
             Body ‫اى واﺣد ﻣﺳﺎﻓر ﻻى دوﻟﮫ ﻣﺳﻠم ﺑﯾﺗﺣﻘﻖ ﻣﻌﺎه‬     Anyone traveling to a Muslim country is investigated
             Author ( 100001303475553 ) ‫ﻣﺣﻣد اﻟﺷﻧﺎوى‬         Mohamed Elshinawy
             Sent 2014-10-10 17:02:59 UTC
             Deleted
             Body ‫ﻟو ﻣﻛﻧﺗش دوﻟﺗﮫ‬                             If it is not his own country.
             Author ( 100004675178304 ) ‫ﺗﺎﻣر اﻟﺧﺿرى‬          Tamer Elkhodary
             Sent 2014-10-10 17:03:02 UTC
             Deleted

             Body ‫اوﺻل ﺗرﻛﯾﺎ واﻧﺎ ﺑﺈذن ﷲ ھرﺗب ﻟك ﻛل ﺣﺎﺟﮫ‬     Just come to Turkey and, Allah willing, I will arrange everything for you.
             Author ( 100001303475553 ) ‫ﻣﺣﻣد اﻟﺷﻧﺎوى‬         Mohamed Elshinawy
             Sent 2014-10-10 17:03:10 UTC
             Deleted
             Body ‫اﻧت ﻣش ﻋﺎرف اﻟوﺿﻊ ھﻧﺎ‬                      You have no idea about the situation here.
             Author ( 100001303475553 ) ‫ﻣﺣﻣد اﻟﺷﻧﺎوى‬         Mohamed Elshinawy
             Sent 2014-10-10 17:03:15 UTC
             Deleted
             Body ‫اﻟﻧﺎس ﻣرﻋوﺑﮫ‬                               People are scared.
             Author ( 100001303475553 ) ‫ﻣﺣﻣد اﻟﺷﻧﺎوى‬         Mohamed Elshinawy
             Sent 2014-10-10 17:03:23 UTC
             Deleted
             Body ‫رﻋب ﻟم ﯾﺣدث ﻗﺑل ذﻟك‬                        It has never been scary like that before.
             Author ( 100001303475553 ) ‫ﻣﺣﻣد اﻟﺷﻧﺎوى‬         Mohamed Elshinawy
             Sent 2014-10-10 17:03:36 UTC
             Deleted
             Body ‫ﺧﻼص ان ﺷﺎء ﷲ‬                               Ok, Allah willing.
             Author ( 100004675178304 ) ‫ﺗﺎﻣر اﻟﺧﺿرى‬          Tamer Elkhodary
             Sent 2014-10-10 17:04:00 UTC
             Deleted
                                                             This is Prophet Muhammad's good news; you are victorious through
             Body ‫ھذه ﺑﺷرى اﻟﻧﺑﻰ ﻣﺣﻣد ﻧﺻرت ﺑﺎﻟرﻋب ﷲ اﻛﺑر‬     fear; Allah is great
             Author ( 100001303475553 ) ‫ﻣﺣﻣد اﻟﺷﻧﺎوى‬         Mohamed Elshinawy


                                                                                                                                 TAMER_281
                                                 FB CONVERSATIONS
U.S.v. Elshinawy         Case 1:16-cr-00009-ELHWITH TAMER ELKHODARY
                                                 Document  138-2 Filed 11/14/17 Page 3 of 6
Criminal No. ELH-16-0009                          Defense Exhibit 2                                                                                                                    3




         Tamer Facebook                                                                   Pages 2327 to 2366                                                                      30

                                                                  A                                                                            B
           1    Arabic                                                                                         Translation DRAFT
          905   Recipients ( 100004675178304 ( ‫تامر الخضرى‬                                                     Tamer Elkhodary
          906   ( 100001303475553 ( ‫محمد الشناوى‬                                                               Mohamed Elshinawy
          907   Author ( 100001303475553 ( ‫محمد الشناوى‬                                                        Mohamed Elshinawy
          908   Sent 2015-04-21 18:21:38 UTC
          909   IP 50.153.125.13
          910   Deleted false
                                                                                                               Thanks be to Allah, I have found my dream project, Allah
          911   Body ‫الحمدهلل انا لقيت مشروع الحياة بتاعى ان شاء هللا‬                                          willing,
          912   Recipients ( 100001303475553 ( ‫محمد الشناوى‬                                                    Mohamed Elshinawy
          913   ( 100004675178304 ( ‫تامر الخضرى‬                                                                Tamer Elkhodary
          914   Author ( 100004675178304 ( ‫تامر الخضرى‬                                                         Tamer Elkhodary
          915   Sent 2015-04-21 18:22:09 UTC
          916   Deleted false
          917   Body ‫وفقك هللا لما يحب ويرضى‬                                                                   Allah will give you success if He wishes and approves
          918   Recipients ( 100004675178304 ( ‫تامر الخضرى‬                                                     Tamer Elkhodary
          919   ( 100001303475553 ( ‫محمد الشناوى‬                                                               Mohamed Elshinawy
          920   Author ( 100001303475553 ( ‫محمد الشناوى‬                                                        Mohamed Elshinawy
          921   Sent 2015-04-21 18:22:12 UTC
          922   IP 50.153.125.13
          923   Deleted false
                                                                                                               It was a source of anxiety; life without Islam as the main drive
          924   Body ‫ده كان فعال مؤرق عندى الحياة كده بدون ان يكون االسالم هو المحرك االساسى للحياة‬            for life
          925   Recipients ( 100001303475553 ( ‫محمد الشناوى‬                                                    Mohamed Elshinawy
          926   ( 100004675178304 ( ‫تامر الخضرى‬                                                                Tamer Elkhodary
          927   Author ( 100004675178304 ( ‫تامر الخضرى‬                                                         Tamer Elkhodary
          928   Sent 2015-04-21 18:22:20 UTC
          929   Deleted false
          930   Body ‫خلي بالك من نفسك‬                                                                          Take care of yourself.
          931   Recipients ( 100001303475553 ( ‫محمد الشناوى‬                                                    Mohamed Elshinawy
          932   ( 100004675178304 ( ‫تامر الخضرى‬                                                                Tamer Elkhodary
          933   Author ( 100004675178304 ( ‫تامر الخضرى‬                                                         Tamer Elkhodary
          934   Sent 2015-04-21 18:22:38 UTC


                                                                                                                                                                TAMER_158
                                                 FB CONVERSATIONS
U.S.v. Elshinawy         Case 1:16-cr-00009-ELHWITH TAMER ELKHODARY
                                                 Document  138-2 Filed 11/14/17 Page 4 of 6
Criminal No. ELH-16-0009                          Defense Exhibit 2                                                                                                                 4




         Tamer Facebook                                                                   Pages 2327 to 2366                                                                   56

                                                                A                                                                              B
           1 Arabic                                                                                            Translation DRAFT
          1718 IP 50.153.125.148
          1719 Deleted false

                                                                                                               I wanted to ask you.. Is making a small thing with a silencer
          1720   Body ‫ هو تصنيع حاجه كده صغيرة وعليها كاتم صعبه وال سهله‬.. ‫انا كنت عايز اسألك‬                  difficult or easy?
          1721   Recipients ( 100001303475553 ( ‫محمد الشناوى‬                                                   Mohamed Elshinawy
          1722   ( 100004675178304 ( ‫تامر الخضرى‬                                                               Tamer Elkhodary
          1723   Author ( 100004675178304 ( ‫تامر الخضرى‬                                                        Tamer Elkhodary
          1724   Sent 2015-04-22 11:30:14 UTC
          1725   Deleted false
          1726   Body ‫اكيد فى جاهز‬                                                                             Definitely, there is something ready.
          1727
          1728
          1729
          1730
          1731
          1732
          1733
          1734
          1735   Facebook Business Record Page 2359
          1736   Recipients
          1737   ( 100001303475553 ( ‫محمد الشناوى‬                                                              Mohamed Elshinawy
          1738   ( 100004675178304 ( ‫تامر الخضرى‬                                                               Tamer Elkhodary
          1739   Author ( 100004675178304 ( ‫تامر الخضرى‬                                                        Tamer Elkhodary
          1740   Sent 2015-04-22 11:30:28 UTC
          1741   Deleted false
          1742   Body ‫شرا العبد وال تربيته‬                                                                     It is much better to buy a slave than raising one.
          1743   Recipients ( 100004675178304 ( ‫تامر الخضرى‬                                                    Tamer Elkhodary
          1744   ( 100001303475553 ( ‫محمد الشناوى‬                                                              Mohamed Elshinawy
          1745   Author ( 100001303475553 ( ‫محمد الشناوى‬                                                       Mohamed Elshinawy
          1746   Sent 2015-04-22 11:30:39 UTC
          1747   IP 50.153.125.148
          1748   Deleted false


                                                                                                                                                                TAMER_185
                                                 FB CONVERSATIONS
U.S.v. Elshinawy         Case 1:16-cr-00009-ELHWITH TAMER ELKHODARY
                                                 Document  138-2 Filed 11/14/17 Page 5 of 6
Criminal No. ELH-16-0009                          Defense Exhibit 2                                                                                                  5




         Tamer Facebook                                               Pages 2327 to 2366                                                                        61

                                                               A                                                             B
           1     Arabic                                                                    Translation DRAFT
          1869   ( 100001303475553 ( ‫محمد الشناوى‬                                          Mohamed Elshinawy
          1870   Author ( 100001303475553 ( ‫محمد الشناوى‬                                   Mohamed Elshinawy
          1871   Sent 2015-04-22 11:35:12 UTC
          1872   IP 50.153.125.148
          1873   Deleted false

          1874   Body ‫هم لم الذل ونحن لنا النصر بأذن هللا‬                                  Allah willing, the victory is for us, and humiliation is for them.
          1875   Recipients ( 100004675178304 ( ‫تامر الخضرى‬                                Tamer Elkhodary
          1876   ( 100001303475553 ( ‫محمد الشناوى‬                                          Mohamed Elshinawy
          1877   Author ( 100001303475553 ( ‫محمد الشناوى‬                                   Mohamed Elshinawy
          1878   Sent 2015-04-22 11:35:27 UTC
          1879   IP 50.153.125.148
          1880   Deleted false
          1881   Body ‫بارك هللا فيك‬                                                        Allah bless you
          1882   Recipients ( 100001303475553 ( ‫محمد الشناوى‬                               Mohamed Elshinawy
          1883   ( 100004675178304 ( ‫تامر الخضرى‬                                           Tamer Elkhodary
          1884   Author ( 100004675178304 ( ‫تامر الخضرى‬                                    Tamer Elkhodary
          1885   Sent 2015-04-22 11:35:35 UTC
          1886   Deleted false
          1887   Body ‫بإذن هللا‬                                                            Allah willing.
          1888   Recipients ( 100004675178304 ( ‫تامر الخضرى‬                                Tamer Elkhodary
          1889   ( 100001303475553 ( ‫محمد الشناوى‬                                          Mohamed Elshinawy
          1890   Author ( 100001303475553 ( ‫محمد الشناوى‬                                   Mohamed Elshinawy
          1891   Sent 2015-04-22 11:35:57 UTC
          1892   IP 50.153.125.148
          1893   Deleted false
                                                                                           I will completely dedicate my time for that matter, and Allah
          1894 Body ‫انا داخل على تفرغ تام للموضوع وابشر ان شاء هللا‬                        willing, all will be fine.
          1895 Recipients ( 100001303475553 ( ‫محمد الشناوى‬                                 Mohamed Elshinawy
          1896 ( 100004675178304 ( ‫تامر الخضرى‬                                             Tamer Elkhodary
          1897
          1898



                                                                                                                                              TAMER_190
                                 FB CONVERSATIONS
U.S.v. Elshinawy
         Case 1:16-cr-00009-ELHWITH TAMER ELKHODARY
                                 Document  138-2 Filed 11/14/17 Page 6 of 6
Criminal No. ELH-16-0009          Defense Exhibit 2                                                      6




               Deleted   False
                 Body    May God keep you safe and make you useful.

           Recipients (100004675178304) Tamer El Khodary
                       (100001303475553) Mohamed Elshinawy
             Author    (100001303475553) Mohamed Elshinawy
                Sent 2015-04-26 16:36:02 UTC
                   IP 50.153.126.22
              Deleted False
                Body You know that this matter has become the most important thing in my life.

           Recipients (100004675178304) Tamer El Khodary
                       (100001303475553) Mohamed Elshinawy
             Author    (100001303475553) Mohamed Elshinawy
                Sent 2015-04-26 16:36:13 UTC
                   IP 50.153.126.22
              Deleted False
                Body I do what I can to follow what I am told.

           Recipients (100004675178304) Tamer El Khodary
                       (100001303475553) Mohamed Elshinawy
             Author    (100001303475553) Mohamed Elshinawy
                Sent 2015-04-26 16:36:19 UTC
                   IP 50.153.126.22
              Deleted False
                Body Your supplications

           Recipients    (100001303475553) Mohamed Elshinawy



                              Facebook Business Record                                       Page 2319


                          (100004675178304) Tamer El Khodary
             Author      (100004675178304) Tamer El Khodary
                Sent     2015-04-26 16:36:20 UTC
              Deleted    False
                Body     I swear by all Muslims’ lives.

           Recipients    (100001303475553) Mohamed Elshinawy
                          (100004675178304) Tamer El Khodary
             Author      (100004675178304) Tamer El Khodary
                Sent     2015-04-26 16:36:33 UTC
              Deleted    False
                Body     May Allah make your steps firm.

           Recipients    (100004675178304) Tamer El Khodary
                          (100001303475553) Mohamed Elshinawy




                                                                                         TAMER_212
